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                      UNITED STATES DISTRICT COURT
                           DISTRICT OF MAINE

In re: Scott L. Fenstermaker, Esq. )
                                   )
                                   )       Civil No. 2:23-cv-00174-JDL
                                   )
                                   )


                       ORDER CORRECTING ERRATA


      With respect to the Order dated June 16, 2023 (ECF No. 12), it is ORDERED

that the following correction is made:

   1. Page 15, second paragraph, tenth line: not alleged any facts that provide a
      reasonable basis to question my partiality impartiality.

      SO ORDERED.

      Dated this 21st day of June, 2023.


                                                   /s/ JON D. LEVY
                                             CHIEF U.S. DISTRICT JUDGE
